 

Case 2:14-cv-04758-SB-AGR Document 66 Filed 03/07/16 Page1of32 Page ID #:537

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Case 2:14-cv-04758-SB-AGR Document 66 Filed 03/07/16 Page 3 of 32 Page ID #:539

 
 

 

 

[ik.-DIAGNOSIS, CURRENT DSM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Axis IV. ‘
J 2 ~s :
Axis V. | GAF= So Specify Functional Impairment: 1 = Mild. = - 35 Severe
Work/School ADL Medical ¢ a Behavior _Psyehological
X TREATMENTTEAM MEMBERS (Please'Print) Position/Title Si re
“Ta. Sd. BD IDTT Leader
A. C4 DICH, Pht 0 Case Mgr / Prim. Clinician
wd. Carat Luar ,
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J Yous Ase) cc. :
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INMATE BED NUMBER DATE JO 0 :
S /o6 /o 6 Name (Last, First, Ml), COC Number, DOB

 

 

 

_ MENTAL HEALTH TREATMENT PLAN

CDCR 7388 (Rev. 06/06) | | cuRM a La rove

, Confidential Client/Patient Information

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STATE OF CALIFORNIA : DEPARTMENT OF CORRECTIONS AND REHABILITATION

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xis IV. ~
Axis V. GAF= i) Specify Functional Impairment: 1 = Mild 2 = Moderate . 3 Severe
' Work/School 4 ADL | Medical 2 Interpersonal @ Behavior Z = Psychological
X. TREATMENT TEAM MEMBERS(Please-Print) ~~. ‘Position/Tittle “".. * ~. Signature:
IDTT Leader
A. Cnineeal PL,7 Case Mgr / Prim. Clinician
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CDCR 7388 (Rev. 06/06)

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Name (Last, First, MI), COC Number, DOB

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Department of Corrections and Rehabilitation

. State of California
Interdisciplinary Progress Note — General Psychiatry

COCR MH-7230F (Rev. 01/12)

 

il. Comments (cont.)

A — Assessment
(Include diagnosis, rationale and any collateral information.) -

IP non compliant with Paxil due it being prescibed as an am dose. Just took first pm dose last night so
will have to re ducat to evaluate effectiveness.

 

 

Axis | Schizoaffective disorder

_ I! Personality disorder NOS

"Il! Asthma, physical disability from GSW with chronic pain.
IV Incarceration

V 43

 

 

P —Plan
(Note. medication refusals and completion of COCR 7225, Include rational for admission, any medication changes, and note heat risk medications

prescriptions.)
Paxil 20mg po qpm will be continued

May consider addition of an antipsychotic in the future

cae

Return in 2 to 3 weeks.

 

 

E — Education
Discussed medication benefits and side effects.

  

I-4F

 

idge, M.D.

Inmate's Name (Last, First, Ml), CDC Number, DOB

 

Turner, Lafonzo

Interdisciplinary Progress Note — General Psychiatry G05794
CDCR MH-7230F (Rev. 01/12
( a2) 9/16/1972

Confidential Inmate-Patient Information

 

 

 

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; “5 Initial. O Update eekly MHCB Review - [Pr Guarterty r O Annual Review
1. General Information ‘ Current Level of Care: oO NONE (|CCCMS TODAY'S DATE
(“spatment Setting Ef ' [ff EoP -(] MHCB [7] OTHER : AR he ga
Arrival Date This Treatment Setting: / / Current Housing: [-] RC pa GP [()cTc NEXT UPDATE
TErom: [asu [) Psu [shu C] oTHER:. Go olag¢
Custody Level: / Il/IIL/IV/ AdSeg / SHU EPRD:
Date Reviewed: Initials: i Date: ; Initials: Bate: Initials:

 

[TLGEINICAL SUMMARY
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dif, PROBLEM LIST... _ Dan (és STAC. Lee a
Number . Problen ° ntervention/Clinictan Goal . Progress / Date
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" PSYCHOTROPIC: MEDICATION

umber | Problem/Target Symptom _ Medication Goal Progress / Date

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V. CURRENT RISK FACTORS/BEHAVIORAL ALERTS: C] Suicidal “()"Selfinjurisus EC] Assauytive [£2] Keyhea’
See Form Dated For Detailed Description

Summary; £f@/Y 1 Obs Lh ' Y4t4 Co SL/L 4S FE C7 COM C

VI. RECOMMENDED HOUSING: QQ Single Cell CJ ‘Double Cell . a No Recommendation’ ’
Vil, TRANSFER/DISCHARGE TO: (—] Non-MHSDS CJ-CCOms:f] EOP | EA MHCB GLAPP.CLICF E) pte J Parole.
remain 14 EOP RE = ~ COlW6F. OC Mays.

 

 

 

 

 

 

 

 

 

 

 

 

arnian, Pl. D—
LAER Cc. CLINICEN nical Psychologist —
INMATE BED NUMBER DATE Name (Last, First, Ml), CDC Number, DOB

 

 

 

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Confidential Client/Patient Information
Page 1 of 6

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DEPARTMENT OF CORRECTIONS AND REHABILITATION

 

 
 

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Ak: DIAGNOSIS, ‘CURRENT DSM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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' Axis Vo fs GAF= Af Q Specify Functional Impairment: 1 = Mild 2 = Moderate . 3= Severe
Work/School ADL Medical Interpersonal Behavior Psychological
X. TREATMENT TEAM MEMBERS Cues Print) _PositionTitle Signature
Bada +e, IDTT Leader VRS EZ, Zp
Clinical Psychologist —+ Case Mgr / Prim. Clinician i kK.
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CDCR 7388 (Rev. 06/06)

 

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TAL. HEALTH: TREATMENT PLAN” — re TE MEAS a
[7] Annual Review

 

 

 

 

 

 

 

 

aor initial . Won (7) BWeekly MHCB Review L] Quartery
veo 4. General information Curre Level of Care: [] NONE Clcccems TODAY'S DATE

J} Treatment Setting Cot ‘ EOP = [_] MHCB [7] OTHER “ iz f lo g
Arrival Date This Treatment Setting: / = / Current Housing: [] RC (aGP _ Eicte NEXT UPDATE

| From: Clasu CJ] Psu (shu CIoTHER:. 2, [+07
Custody Level: It / I AV DAdSeg / SHU EPRD;
Date Reviewed: __lniiats: {0 Date: Initials: [pate Initials:
Ul. ‘CLINICAL SUMMARY: © ates : “fs ad m a eet " on La tty Boke Ltt A at od ate we! Sony aR, a a tae “eA. whe

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ill: PROBLEM LIST) | ,
Problem ‘ Intervention/Clinician Goal
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Progress / Date

 

 

 

 

) NV. PSYCHOTROPIC MEDICATION

 

 

 

 

 

 

 

 
 

 

:Number | Problem/Target Symptom Medication Goal Progress / Date
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V. CURRENT RISK FACTORS/BEHAVIORAL ALERTS: = (] Suicidal ~([J] Self Injurious (J Assaultive Keyhea
For Detailed Description

 

 

-SeeForm ss —é=éC teed
i Summary:

‘VI. RECOMMENDED HOUSING: ["] Single Cell (1 Double Cell - No Recommendation
| vil. TRANSFER/DISCHARGE TO: [_] Non-MHSDS ["]CCCMsS (J EOP (1) MHCB [1] APP (JIcF- Clote (1 Parole

 

 

 

 

 

 

 

 

 

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ae DATE i Name (Last, First, Ml), CDC Number, DOB
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Axis V. GAF= 4 “L-Specify Functional Impairment: 1= Mild 2 = Moderate 3 = Severe
Work/School ADL Medical Interpersonal Behavior Psychological
X. TREATMENT TEAM MEMBERS (Please Print) : Position/Title Signature
IDTT Leader . /
J. Keisch, LCSW Case Mgr / Prim. Clinician Wft—
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MENTAL HEALTH TREATMENT PLAN
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Confidential Client/Patient Information
Page 5 of 6

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DEPARTMENT OF CORRECTIONS AND REHABILITATION

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Case 2:14-cv-04758-SB-AGR Document 66 Filed 03/07/16 Page 10 of 32 Page ID #:546

Institution: . (AX "Clinician:

 

_D Hernandez, LCSW... ” ° bb lok

A. Appefrance: ‘ :
rnd oan + - | !
B, Behavior/Cooperation: ; . ;

C. Orientation: WNL

D. Speech: =] WNL ‘ :

“Tort ht“ ae Vins
E. Affect: . Cj "TLef- é ay
F. Mood: cq 0 Lye ptortig,

G. Sleep/Appetite [7]. WNL

PLAT. yg,
H. Cognition:

Fund of information —¢]), WNL pwr Astorron .

Intellectual Functioning Cy WNL etvacTed * erctpeutiw
Concentration CE] WNL ore of

Attention C) Wnt m7 poh Cr heer geupaud

Memory C) wnt duns Pas. ! A Like

. Thought Processes: = [7] WNL [_] Tangential ("] Circumstantial LPtoose

J. Perception:

Hallucinations ("} None A He

 

K. Thought Processes:
‘Delusions {J None 9) of +O :
Ideas of Reference [] None Vihow !
Obsessions C} None ;
Magical Thinking C1 | None '
L. Insight Own ff

 

 

Judgment Cl wnt fawn

inmate's Name (Last, First, Ml), CDC Number, 008

 

MENTAL HEALTH TREATMENT PLAN.

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Page 3 of 6 . ;

 

STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION

 

 
 

 

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Axis -V. anne] &~ spect Functional impairment: 1 =Mild 2 = Moderate 3 = Severe
Work/School ADL Medical Interpersonal Behavior Psychological =
X. TREATMENT TEAM MEMBERS (Please Print) Position/Title Signature
IDTT Leader a a

Case Mar / Prim. Clinician

 

 

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INMATE BEDAUMBER DATE

 

 

——~—+}~-~---—_E Hernandez, ..G,S.W.,

 

Name (Last, First, Ml), COC Number, DOB

 

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DEPARTMENT OF CORRECTIONS AND REHABILITATION

 
 

 

 

 

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California State Prison San Quentin Desartment of Corrections and Rehabilitation
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we | 5/28/08
|: Administrative Information. Os
* ype of Review: Update _ Setting: EOP Gender _ Male Date Entered Tx Level 2/29/08
SQ Arrival 2/21/08 — Comit Time Points County Comit Contra Costa
Initial Arrival Term Custody UNCL "Ethnicity BLA
From CC Commit Date DOB — 9/16/82 Language — English
Release Type Murder Vict/Pred
Release Date Commiting Priv/Wrk A
: ———— Offenses Group) ——__—__
Housing B 1 -043L SS# 546330076
IDTT Date 5/28/08 TB Code Hepatitis Code [0 | HIVCode[_0 | Veteran No

 

ClinicalSummary a sy a -
IM's 35 y.o. African American in prison for murder, serving 50 to life, denied mood symptoms, but presents odd, delayed
speech, some disorganized thought process, impaired concentration, recent auditory and visual hallucinations; with history of
marijuana usage from 12 y.o. to 32 y.o. (when jailed), taking Zyprexa/Paxil/Depakote

 

 

 

 

 

 

   

 

   

Number Problem Intervention/Clinician Goal Progress
aM Thinking Remains the same
2 1:1 Contact Skills Remains the same

3 1:1 Contact the same

 

 

~-Gutrent Risk. Fators/Behavioral Alerts; Bs re en
Alerts: Suicide Aggression Self Injury Unpredictable Sexual Grave Disabality
Behavior Alerts _Negligible Low Negligible Low Negligible “Low

IM denied current/recenthistory of suicidality, and has some protective factors

 

 

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igh History of Substance Abuse r
Previous nv History of yiglence Ideation: No
story of Mental Illness .
Attempts __No Long or life sentence, three strikes Intent: No
# of Previous mo First prison term trol ‘il Plan: No
‘empts Lv istory of poor Impulse control or poor caping skills : .
Year of p= Level 4 Custody Score CDCR History: No
Last Attempt | .. Chronic serious or terminal iliness Family History: No
Method |
MENTALHEALTH TREATMENT.PLAN | LEVELOF CARE | Cd,
- CDCR-7388 . “
. . ~~“ EOP |
po 8 Confidential client | 9116/82 | Institation |
Department of Correctigns ~ | Date Printed ve ; «ba
_and Rehabilitation, : 6/3/08 a_| House |

 

 

 

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Case 2:14-cv-04758-SB-AGR Document66 Filed03/07/16" Pagé 13 0f 32- Page ID #:549
California State Prison San Quentin e rtment of Corrections and Rehabilitation

 

 

 

  
 

 

 

eS, MENTAL H HEALTH. TREATMENT: PLAN (7388 e2) ee a 5/28/08 | |

tal Status. Examination” a” eS

of General Appearance: Odd, Clean

oe ~ Mogd/Affect: > Within Nori:

Thought Content/Process: Some DisorganizedDelayed
Judgament/Ingight: Fair judgment, Poor insight :::*

_ Level of of Activity Within Normal Limits

   

   

 

Memeryfinformation: Fair Memory

‘Concentration/Abstrattion? Poor Concentration ° . ©
_SinepiAppetie: Broken Sleep, Eating Well
anti : Within:Normal Limits

 

Suicidality/Violence: Not Present

MSE Comments: .

35 yo AA male with long history of ‘voices' starting reportedly at 19 yo reported that he hears ‘Chinese people’
saying that they are ‘gods and control things’ // reported that he ‘turned invisible’ the other day. Reports that he
talks to animals and sometimes through the television. Reports periods of depression lasting a week reporting that
he iust ‘aets auief but nothina channes during that time _flenieas mania

 

 
 

 

  

 

  

 

 

 

 

-Funetionality - : I ee
. WorkdSchoo} [2] Medical [1 | Behavioral Control [1 | ‘ Ee - oe , Gtoup Hours
/ ADI. Interpersonal [4 | Mental Illness [ 2 | . Hours Received’ . / : Ortens
. Functional Score f Hours Refused. Work Hours
O=None 1=Mild 2=Moderate 3=Severe 18 Best 0 Worst

 

Participation Motivation Condition ICC Advocate
Active Fair Stable Yes —

 

 

: Current! ‘Medicat Target. Symptoms

 

 

Med Adherence
Cd

Side Effects:

 

 

 

 

Physical Disabilities
Weight (Ibs) None Known
Date

% Change

 

 

 

 

 

 

 

 

 

 

 

 

 

 

# “MENTAL HEALTH TREATMENT PLAN Ao" | LEVEL OF CARE |
oo eDCR 7988 oo

    

EOP.

  

Date Printed
6/3/08

 

 

 

 

 

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California State Prison San Quentin

: of Corrections and Rehabilitation

 

 

_ MENTAL HEALTH TREATMENT PLAN (7388 p3).

 

Yr S
ow, arent Working D Diagnosis”

 

 

5/28/08 |

 

 

  
 
 

Axis it
799.9 Diagnosis Deferred on Axis II

 

Incarceration

i, Undifferentiated Type, Provisional
{ sorder,. NOS, Provisional “
304.30 Cannabis Dependence, In a Controlled Environment, by History

 

    

Keyhea Expires

[|

 

53 Calculated GAF

 

Danger

[45 | [55 | [56 | [55 | Medical Impairment [55 |

Ancillary Impairment [50 |

ADL

_

 

 

cee Psych Soc
Di tic C ts: Impair Skill
med/sx mgmt

History of

Exhibitionism | No

‘“etails

 

 

35 yo AA male with long history of psychotic sx meeting criteria for schizophrenia. Referred to CCCMS for.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“Treatment Team Title... ’ Signature
Patient Needs to be Seen 30 Days Brenner Team Leader
by IDTT within: Nay Wong Case Manager
Next Review before: 6/27/08 Brame P.T,
DD Category (NCF] Mastain RT,
Recommended Housing: Present -
Date/Time Finished | Resnik. we Counselor x
san S48 | okie Supenisor “SS |
: + MENTAL HEALTH TREATMENT PLAN. wu. | LEVEL OF CARE “anRyoa
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Chronological Interdisciplinary Progress Notes State of California, Department of Corrections -Pelican Bay State Prison |

 

Date: 04-30-2012 Time: 1000 Chart available? NO Reason for visit? MH FU 7 DAY EOP Location of Visit: MH EOP

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[X]see PAGE 2
ignature: MPIMSRMJ1, JOHNSON, f Print Name: JOHNSON, PH.D. , RONN Phd / LCSW / MD / PsyTech/ Other:
- MENTAL HEALTH Level of Care |Last Name: ' First Name: MI:

INTERDISCIPLINARY PROGRESS NOTE
TURNER LAF
MH3 (10/11/02) INPATIENT . ONZO R

\
Entry By: JOHNSON, PH.D., RONN Entry Dt/Tm: 04-30-2012 1424
"MH EOP / SRAC Addendum ,

 

TURNER, LAFONZO RAY

CDC #: GO5794 (H43844, H54873, H72847 D/C 05.13.01)
DOB:' 09.16.72 (39)

RACE: Black

CDC Arrival: 02.21.08

Release Date: 07,19,55

PBSP Arrival: 04.25.12 (from Lancaster SP)
Classification: 166, Close A

Legal HX: (2004) Prev/Diss Witness from Testifying
(2003) Murder-1

(1996) Poss FA Ex~-felon

(1991) Poss/Sale Cocaine for sale

DECS Review: DDP: NCF, TABE: none, DP: none, Healthcare Appliance: Brace
Physical Limitations: May Not Work in Dusty Areas,
PERMANENT, 04-17-2013 Months
MHSDS Code: EOP (B3 Arrival: 05.25.12)
LOC HX: BOP (01.31.12)< CCCMS (07,.01.10)< EOP (06.26.08)< CCCMS (03.03.08)

Last IDIfT:
SRAC: 04.30.12
MH2/7:

Axis I: 298.90 Psychotic NOS
Axis II: V71.01 Antisocial Adult Behavior

\axis III: Asthma, chronic pain, hypertension, left foot drop < due to GSW
7Rx: Haldol 5 mg bid, Cogentin 1 mg bid

DATE: 04.30.12
TIME: 10:00 - 10:30
LOCATION: CM Office

Effective Communication (EC): Pt provided substantive and appropriate responses
to questions asked. : ,

Mr, Turner (Pt) was seen in a confidential setting today. Pt presented w/NAD,
appropriate hygiene/ grooming/attire, ° reported "they are not giving me my
medication," and denied current SI or currnt MH distress. [Medical reported Pt
has been refusing his RX x 4 days.] Pt reported he suffers from chronic pain
2nd 19936 GSW to his "T3," be which he was "paralyzed" and underwent surgery and
Tx in SF General Hospital. Pt reported he has "always heard voices," and that
his RX "kept them quiet", and that his recent RX changes have resulted in
becoming “locked up" and a “swollen tongue." Pt reported a HX self-cutting -
"it helps with the voices." CM asked to see the scars on his arms from cutting;
Pt, bared his arms but CM saw no evidence of cutting BX. Pt then said he used to
bite himself, but not to the point of breaking skin, be it “over-rode the
voices." Pt said he sometimes talks back and /or yells at the voices. Pt
claimed to experience episodic feelings of "hopelessness" and "despair, and he
reads the Bible." Pt then modified his story to say that he only began cutting
since he arrived at PBSP. This led to a discussion that Pt is anxious about
Wetng at PRSP and did not want te transfer ta PRED, Dt raperted ha hae anomjes

 

Confidentail Client/Patient Information

: CDC#: 794 . .
See W & | Code, Section 5328 Outpatient # GOS HOUSE: BO3U221L

Confidential Saved 2014-04-15 15:35:397

 

 

 

 

 
 

 

Case 2:14-cv-04758-SB-AGR Document 66 Filed 03/07/16 Page 16 of 32. Page ID #552

 

Chronological Interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |

 

/” §ntry By: JOHNSON, PH.D., RONN Entry Du'Tm: 04-30-2012 1424

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N.

 

-4t PBSP and feels there is a custody conspiracy to kill him, be he knows "the
truth about the world." Pt mentioned he has "environmental "concerns, mentioned
the Illuminati, again mentioned that he has episodic feelings of "hopelessness,
and said that "talking helps me stay grounded." Pt asked CM, "Do you think
they're trying to kill me?" Pt reported he believes Custody is using
"subliminal" messages to get to him. Pt said he used to have a lower tier/bunk
chrono, be his injuries, and said he almost fell down the stairs a few days
ago, and that today he feels groggy. CM gave Pt the Informed Consent form to
read, which Pt did-but refused to sign. Pt said he doesn't like to sign forms
bc he is dyslexic and confuses words and: letters. Pt said bc he could get
confused, and is afraid that he could sign something that would allow "them to
kill me.a contract to take my life." Pt reported Depression and Anxiety about
"my environment" and does not trust anyone. Pr reported poor sleep maintenance
and is awakened by AH, but that his appetite is "OK," although he only eats two
meals a day (not lunch). Pt said he attempted to kill himself "a very long
time ago," and then changed this to say it was in 2010 when he tried to hang
himself. CM asked if they had to cut him down, and Pt affirmed this and that he
was taken to the hospital. When CM said that could be easily verified in both
Medical and Custody files, Pt said he did not remember if they had to cut him
down ~ bc he passed out - but he thinks so. When asked about HX Substance /
ETOH abuse, Pt said he used "everything..whatever was free." Pt said he in‘in
contact with a girl friend from the SF area, that he lost contact with his
family after incarceration; his father died and his mother cannot drive bec
medical problems. Pt denied having every married or produced children, and said
his girlfriend last visited him in RC. Pt was asked what groups he attended at
Lancaster, and Pt replied he had not gone to and does not like to go to Rec
groups. CM explained to Pt that EOP is a group oriented program and that his
‘attendance will be expected as long as he is at EOP LOC. CM also educated Pt

About the goal of EOP LOC is to move inmates back out to CCCMS/GP and that to

this end all cases are reviewed gq 90 days.

NOTE: as this interview progressed, Pt's affect cleared and became almost
normal, his references to AH and delusional content dropped away, his posture
gradually straightened up and his eye contact normal. LPT reported Pt has been
observed to be a avid and quick reader, and waves off LPT at RX pass
“dismissively." PN from 03.02.12 stated Pt was “not reporting or demonstrating
any other signs or evidence of significant psychological distress, Mood Bo,
psychosis or Axis J DO." Pt was attacked by his cellmate on 03.26.12, increased
his reports of PI and SI, and threatened his CM in March after learning he was
being transferred to PBSP. Pt's plethora broad based SXs lacks credibility, and
his presentation is inconsistent across settings.

SRAC Addendum (04.30.12) LOW ACUTE RISK

Long-Term'/ Static Risk Factors:

Pt is a 39yo Black single, male, multi- termer incarcerated in a Level IV

prison, serving LIFE for murder-1. He arrived to CDC for this term in 2008, |

His reports about self-cutting and SIB changed during the course of this
interview. He reported SIB by hanging in 2010, and an extensive HX of
substance/alcohol abuse - “whatever was free." He carries an Axis I DX of
Psychosis NOS. His last SI was determined to be manipulative (March 2012) be
learning he was being transferred to PBSP. He receives chronic care for asthma.
This speaks to. poor impulse control.

Dynamic Risk Factors:

\gnature: MPIMSRMJ1, JOHNSON, f Print Name: JOHNSON, PH.D. , RONN Phd / LCSW / MD / PsyTech/ Other:

 

MENTAL HEALTH Level of Care |Last Name: First Name: MI:
INTERDISCIPLINARY PROGRESS NOTE .
TURNER LAFONZO
MH3 (10/11/02) INPATIENT R

Confidentail Client/Patient Information Out : tient CDC#: G05794 HOUSE: B03U221L
See W & | Code, Section 5328 utpatient Confidential Saved 2014-04-15T15:35:397,

 

 

 

 

 
 

 

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|Chronological Interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |

/ “Entry By: JOHNSON, PH.O., RONN . Entry Dt‘Tm: 04-30-2012 1424

\ Pt claimed SI some five weeks ago, but was not admitted to the MHHCB. He
reports episodic anxiety, depression, insomnia, feelings of hopelessness and
despair, safety concerns, is currently single-celled, and is currently refusing
his RX.

Protective Factors: .

Pt reports support from family (mother and aunt) and girlfriend, and exercise,
Pt will be assigned to 10+ hours of group activities per week and be expected
to find a cellmate he is compatible with.

No acute intervention indicated at this time.

RTC 7 days

Medical agreed to look at Pt's arms for evidence of cutting behavior, and
attempt to ascertain what Pt is reading in his cell.

 

QO:. Appearance, | Appearance - NAD, hygiene and grooming wnl, Behavior - changed across time during interview; suggesing manipulative. Speech -
Behavior, Speech, | prosody wnl, Pt expressed PI. Orientation --x3. Cognition - est normal range. Memory - STM intact - nop prob tracking CM questions
LOC, Orientation, and interview topics. Concentration - good. Affect - stable. Mood - reported episodic Dep/Anx; presented euthymic. Insight -
Cognition, Memory, | complained about not getting RX, reported as refusing RX. Judgement - Refusing RX. Thought processes and content - possible

Concentration, Affect,| 4, . ve wet nn d
Mood, Insight, dissembling. Suicidal and/or homicidal ideation - denied current SI.

Judgement, Thought
processes and
content, Suicidal

 

 

 

  
 
  
 
 
 
  

 

   

and/or homicidal
ideation
\ he nosis & | Diagnosis Axis GAF — GAF Basis Notes
a cuscion V71.01 - ADULT ANTISOCIAL It
, BEHAVIOUR .
Treatment team’s .
diagnosis per MH2_ | 999999 - INCARCERATION, LIFE IV
first. thenconcur, | SENTENCE -
purpose, elc..., 301.90 - PERSONALITY DISORDER II
with supportive NOS
discussion condition ae
case formulation, 298.90 - PSYCHOTIC DISORDER NOS | per sending institution
data analyses, et-_| 999999 . SEVERAL - SEE UHR I

Entry By: Entry Dt/Tm:

 

\gnature: MPIMSRMJ1, JOHNSON, f Print Name: JOHNSON, PH.D. , RONN Phd / LCSW / MD / PsyTech/ Other:

 

MENTAL HEALTH Level of Care {Last Name: First Name: MI:
INTERDISCIPLINARY PROGRESS NOTE :
TURNER LAFONZ
MH3 (10/14/02) INPATIENT O R

Confidentail Client/Patient Information Outpatient CDC#: G05794 HOUSE : BO3U221L ‘
See W &| Code, Section 5328 p Confidential Saved 2014-04-15T15:35:397,

 

 

 

 
 

 

 

 

 

 

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[Chronological Interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |

Fr “folowup :

Jappt.,
medication changes
without rationale,
treament
recommendations,
AIMS, consents,
diagnositc studies,
patient education,
etc...

 

 

Entry By: JOHNSON, PH.D., RONN

attempt to ascertain what Pt is reading in his

3) RTC 7 days

PSYCHIATRIC MEDICATIONS (optionat for clinicians): °

Drug

Dosing

Entry DUTm: 04-30-2012 1546

1) No acute intervention indicated at this time.
2) Medical agreed to look at Pt's arms for evidence of cutting behavior, and

Duration Target Symptom(s)

cell.

 

Response, blood level, iab results, compliance , anticipated duration, etc...

Entry By: .

 

Ne

Entry DtTm:

Phd / LCSW / MD / PsyTech/ Other:

 

“ MENTAL HEALTH Level of Care _
INTERDISCIPLINARY PROGRESS NOTE :
MH3 (10/11/02) INPATIENT
Confidentail Client/Patient Information ‘
See W & | Code, Section 5328 Outpatient

 

 

“ignature: MPIMSRMJ1, JOHNSON, f Print Name: JOHNSON, PH.D., RONN .

Last Name:
TURNER

CDC#: G05794

First Name: MI:
LAFONZO R

HOUSE: BO3U221L
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Case 2:14-cv-04758-SB-AGR Document 66 Filed O3/07716 Page 19 of 32” Pagé ID #555

 

[Chronological Interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |
: Date: 04-29-2012 Time: 0800 Chart available? NO Reason for visit? PSYCHTECHNOTE "Location of Visit: EOP-UNIT

.
( gntry By: SNYDER, LPT, RITA Entry Dt/Tm: 04-29-2012 1054

DECS Review: DDP: NCF, TABE: none, DP:.none; Healthcare Appliance: Brace
Physical Limitations: May Not Work in Dusty Areas, PERMANENT

$60) EC not achieved as I/P waived this writer away during med pass; refusing

his meds. Asked him a 2nd time and he looked irritated and waived me away again.

I/P appears to be responding to. unseen stimuli; mumbling to himself (or someone

else?) incoherently at this point. Is mad that I disturbed his sleeping,

apparantely.. . ,

A&P) deferred

P) at noon med pass I will go by his cellfront and see what he is doing; how he

is behaving. Introduce myself and try to welcome him to EOP and ask him if

there is anything we can do for him. Con't to monitor. It appears this I/P is

NOT taking his meds. Will inform Psych MD, CM, and RN. tomorrow...Monday...of

this I/P's doings. .

 

 

QO: Appearance,
Behavior, Speech,
LOC, Orientation,
Cognition, Memory,
Concentration, Affect,
Mood, Insight,
Judgement, Thought.
processes and
content, Suicidal
and/or homicidal
ideation

 

po

A: Diagnosis &
Discussion
Treatment team's
diagnosis per MH 2
first. then concur,
purpose, ete...,
with supportive
discussion condition
case formulation,
data analyses, etc...

) Entry By: Entry Dt/Tm:

 

 

 

 

P: Follow-up Entry By: Entry DuTm:
care/appt.,
medication changes
without rationale,

‘| treament ,
recommendations,
AIMS, consents,
diagnositc studies,
patient education,
etc...

 

i
|
i
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[X]see PAGE 2
‘ignature: MPIMSRCS, SNYDER, LP’ Print Name: SNYDER, LPT , RITA Phd / LCSW/ MD / PsyTech/ Other:

MENTAL HEALTH Level of Care |Last Name: First Name: MI:
INTERDISCIPLINARY PROGRESS NOTE :
TURNER LAF
MH3 (10/14/02) INPATIENT ONZO R

Confidentail Client/Patient Information : CDC#: G05794 “HOUSE: BO3U221L
Outpatient ;
See W &I Code, Section 5328 P Confidential Saved 2014-04-15T15:35:397,

 

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Case 2:14-cv-04758-SB-AGR Document 66 Filed 03/07/16 Page 20 of 32 Page ID #:556

 

[Chronological Interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |

P PHIATRIC MEDICATIONS (optional for clinicians):
“brig Dosing Duration Target Symptom(s)

Response, blood level, lab results, compliance , anticipated duration, etc...

 

 

Entry By: / . Entry 0t/Tm:
\
J
_ “\gnature: MPIMSRCS, SNYDER, LP? Print Name: SNYDER, LPT , RITA ' Phd / LCSW /MD/PsyTech/ Other:
yp MENTAL HEALTH Level of Care |Last Name: First Name: MI:
INTERDISCIPLINARY PROGRESS NOTE
TURNER
MH3 (10/41/02) INPATIENT LAFONZO R
Confidentail Client/Patient information . CDC#: G05794 HOUSE: B03U221L
Outpatient
See W & | Code, Section 5328 utpatien Confidential Saved 2014-04-15T15:35-397

 

 

 

 

 

 
 

 

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[Chronological Interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |
Date: 04-27-2012 Time: 1130 Chart available? NO Reason for visit? MH NEW ARRIVAL ‘Location of Visit: MH EOP

 

oN
f jntry By: JOHNSON, PH.D., RONN Entry Dt/Tm: 04-27-2012 1432
MH EOP New Arrival

TURNER, LAFONZO RAY
CDC #: GO5794 (H43844, H54873, H72847 D/C 05.13.01)
DOB:' 09.16.72 (39)
RACE: Black

CDC Arrival: 02.21.08

Release Date: 07.19.55

PBSP Arrival: 04.25.12 (from Lancaster SP)
Classification: 166, Close A

Legal HX: (2004) Prev/Diss Witness from Testifying
(2003) Murder-1

(1996) Poss FA Ex-felon

(1991) Poss/Sale Cocaine for sale

DECS Review: DDP: NCF, TABE: none, DP: none, Healthcare Appliance: Brace
: Physical Limitations: May Not Work in Dusty Areas, PERMANENT
04-17-2013 Months
MHSDS Code: EOP (B3 Arrival: 05.25.12)
LOC HX: EOP (01.31.12)< CCCMS (07.01.10)< EOP (06.26.08)< CCCMS (03.03.08)

Last IDTT:

SRAC:

MH2/7;

‘Axis I: 298.90° Psychotic NOS

Axis II: V71.01 Antisocial Adult Behavior .
‘axis III: Asthma, chronic pain, hypertension, left foot drop due to GSW
RX: Haldol 5 mg bid, Cogentin 1 mg bid

DATE: 04,27,12
TIME: 11:30 - 11:45
LOCATION: PSU (ASU status)

Effective Communication (EC): EC was attempted via simple planguage, repetition,
open-ended questions and monitoring Pt responses. EC was largely unable to be
accomplished bc Pt apepared to be responding to internal stimuli, disoriented
and disorganized in speech.

Mr. Turner (Pt) was seen in tandem with EOP Psychiatrist in PSU interview room,
be Pt is on ASU status pending investgation into a 115 from the sending
institution (Lancaster) re: threats against staff/Cco.

Pt is a tall (est height 6'3", weight 190lbs) Black male (marital status
unknown) transferred 2 days ago to PBSP at EOP -LOC. He was escorted in
restraints by Custody to a reinforced interview room. His hygiene/grooming
appered wnl and his clothing was the usual temporary white jumpsuit. Dr.
Arcuri, EOP Psychiatrist had advised CM that he had seen Pt yesterday,
presenting at .

that time as disoriented (see psychiatry notes 04.26.12) and, as a result,
Dr, Arcuri reducd Pts Haldol dose from 20 mg bid to 5 mg bid.

Bram the initidatian of this interview, Pr apnegred disnvriented and psychotic,

DX|see PAGE 2
‘gnature: MPIMSRMJ1, JOHNSON, f Print Name: JOHNSON, PH.D.,RONN - Phd/LCSW/MD/ PsyTech/ Other:

 

 

 

 

MENTAL HEALTH Level of Care |last Name: First Name: MI:
INTERDISCIPLINARY PROGRESS NOTE
TURNER LAFONZO
MH3 (10/11/02) INPATIENT R
Confidentail Client/Patient Information Outoatient CDC#: G05794 HOUSE: B03U221L
See W & | Code, Section 5328 P Confidential Saved 2014-04-15T15:35:39Z

 

 
Case 2:14-cv-04758-SB-AGR Document 66 Filed 03/07/16 Page 22 of 32 Page ID#558  ~

 

[Chronological Interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |

f “Entry By: JOHNSON, PH.D., RONN Entry Du'Tm: 04-27-2012 1432

looking around the room smiling at the walls, asking bizarre questions (do cats
have belly buttons?). Eye contact was poor be apparent distraction to internal
stimuli. CM introduced himself and EOP Psychiatrist to Pt, who did not appear
‘to recognize the psychiatrist from yesterday's contact. Pt professed to not
know the name of the prison he had been transferred to but provided the name of
the sending institution. Pt professed to not know the year - "I don't care...I
don't think about that"), month, day, day of week. Pt was continually scratching
his arms and reported.to feel something crawling on his arms and on his face,
but he said he could not see what was crawling on his arms. Three times Pt
interrupted CM during MSE.to ask if cats have belly buttons. The last time Pt
look at the wall, smiled, and said "he wants to know if cats have belly
buttons," CM attempted to review with Pt Informed’ Consent and BOP Psychiatrist
needed also to complete RX consent w/Pt, but Pt apepared to be in a state of
delirium, so CM and Psychiatrist decided to postpone the consent procedures
until early next week. Custody was advised of Pt's condition. No acute
intervention indicated at this time. RTC 7 days.

      

Q:. Appearance, | Appearance - nad, hygiene wnl. Behavior - rubbing chest and arms, smiling at wall, appeared responding to internal stimuli. Speech -

 

 

Behavior, Speech,
LOC, Orientation,
Cognition, Memory,
Concentration, Affect,
Mood, Insight,
Judgement, Thought
processes and
content, Suicidal
and/or homicidal
ideation

 

 

 

A: Diagnosis &
Discussion .
Treatment team’s
diagnosis per MH 2
first, then concur,
purpose, etc...,

with supportive
discussion condition
case formulation,
data analyses, etc...

 

, Diagnosis

 

 

reflected disorientation and psychosis, unable to participate in consent discuss. Orientation - disoriented to place and time. Cognition -
unable to assess. Memory - impaired stm. Concentration - unable to concentrate on MSE task / interview. Affect - stable. Mood - did
not present as either anxious or depressed. Insight - impaired. Judgement - unable to assess. Thought processes and content -
psychotic. Suicidal and/or homicidal ideation - none reported.

Axis GAF  GAF Basis Notes
V71.01 - ADULT ANTISOCIAL i
BEHAVIOUR . '
999999 - INCARCERATION, LIFE IV
SENTENCE

298.90 - PSYCHOTIC DISORDER NOS |
999999 - SEVERAL - SEE UHR il

per sending institution

Entry By: Entry Dt(Tm:

Phd / LCSW / MD / PsyTech/ Other:

‘*gnature: MPIMSRMJ1, JOHNSON, Print Name: JOHNSON, PH.D. , RONN

 

 

 

| MENTAL HEALTH Level of Care |Last Name: First Name: MI:
INTERDISCIPLINARY PROGRESS NOTE TURNER LAFONZO
| MH3 (10/41/02) INPATIENT - R
i Confidentail Client/Patient Information Outpatient CDC#: G05794 HOUSE: BO3U221L
See W & | Code, Section 5328 Confidential Saved 2014-04-15T15:35:39Z

 

 

 
 

 

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Case 2:14-cv-04758-SB-AGR Document 66 Filed 03/07/16 Page 23 of 32 Page ID #:559

\Chronological Interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |

{follow-up

\, appt.
medication changes
without rationale,
treament
recommendations,
AIMS, consents,
diagnosite studies,
patient education,
etc...

 

 

Entry By: JOHNSON, PH.D., RONN Entry Dt/Tm: 04-27-2012 1440

1) Pt appears in delirium, being followed by Psychiatry
2) Postpone Consent tasks until Pt alert and oriented
3) RTC 7 days

PSYCHIATRIC MEDICATIONS (optional for clinicians):

Drug

Dosing Duration Target Symptom(s)

Response, blood level, lab results, compliance ,.anticipated duration, etc...

Entry By:

ee

Entry Dt/Tm:

~{gnature: MPIMSRMJ1, JOHNSON, f Print Name: JOHNSON, PH.D. , RONN Phd / LCSW / MD / PsyTech/ Other:

 

MENTAL. HEALTH Level of Care |Last Name: First Name: MI:
INTERDISCIPLINARY PROGRESS NOTE
TURNER LAFO
MH3 (10/11/02) INPATIENT | NZO R
Confidentail Ctient/Patient Information . CDC#: G05794 .
See W & | Code, Section 5328 Outpatient DCIE G HOUSE: B03U221L

 

 

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Case 2:14-cv-04758-SB-AGR Document 66 Filed 03/07/16 Page 24 of 32 Page ID #:560

 

[Chronological interdisciplinary Progress Notes State of California. Department of Corrections -Pelican Bay State Prison |
Date: 04-27-2012 Time: 0930 Chart available? NO Reason for visit? MH FU Location of Visit: MH EOP

 

“Entry By: ARCURI, PSYMD, MICHAEL Entry DUTm: 04-27-2012 1433

‘PSYCHIATRIST INITIAL MEDICATION EVALUATION Date: 04/27/12 Time: 11:35 -
11:50 Pre/post interview prep time: 30 min + data entry

 

TURNER, L. GO5794 39-year-old African-American EOP DEC: NCF Tabe:
None listed Placement score: 166 CDCR release: 07/19/2055.

Target symptoms: mood, anxiety, delusions, hallucinations, sleep, and ability
to function in EOP.

Yesterday, in the initial psychiatric meeting (see below). the inmate/patient
was found to have signs of a psychotic process, BUT his sensorium was not
clear. Orientation, short term memory, attention, and concentration were all
impaired. This meeting, 24 hours later is to reassess these issues. Today the
inmate/pt was seen in holding cell with is primary clinician present. He was
cooperative and involved with the interview. Effective communication was still
not established, due to the inmate/patient still not having sufficient
orientation, concentration, and attention. However, it was clear that he was.

‘ much improved compared to 24 hours earlier. He made better eye contact, his
statements were much more logical and no longer as fragmented, and he could
nearly accurately recall his birthday: "Sept 18, 1972 (the computer lists
09/16/72). He still could not recall what prison he was in, or the date,
despite many rehearsals yesterday, saying "I don't care, I don't think about
it. Am I in trouble about that?" From time to time he rubbed his arms, stating,
"There's stuff on me," but he could not describe it further and he denied
seeing bugs" on his skin or other visual hallucinations. His primary clinician
could not obtain informed consent for taking therapy because the inmate/patient
could not state the reasons (despite restatement several times to him), why ‘his

“confidentiality might have to be broken (dangerousness to self/others) .

... “Assessment: possible resolving delirium. Plan: continue present medications and
reassess early next week. Another pending issue was an RVR 115 written 04/23/12
for threatening to kill a non~-prisoner (i.e. his primary: clinician) during a
cell-front interview when he was being assessed for suicidal statements.
Informed, that his cell would need to be searched to assess it for safety, he
stated, “Now I want to kill you!" At this time we have learned that his RVR 115
was changed to a "128" and he will remain in EOP. Further document review
reveals: Prior medication trials have included Abilify 10 mg/d + Cogentin 3 mg
HS daily for 3 months, Zyprexa 10 mg/d, Lithium 300 mg/d, Geodon 160 mg/d,
Buspar 60 mg/d, Paxil 40 mg/d, Effexor 150 mg am + Remeron 15 mg HS, and:
Benadryl 50 mg am.and 150 HS/d.

On 04/26/12, Prior to the meeting below, the eUHR was reviewed but had only
limited information, MD psychiatric notes were on 1389s for recent months and
were very terse. On 01/30/12 the MD note indicated a possible Hx of NAPA State
Hospital at age 9. He has been in the CDCR since 2008 at either CCCMS or EOP
levels of care. He has never been to DMH. He was in the CTC twice, in 11/09 to
19/09 after a clear. suicide gesture, following a RVR 115, as he saw a CO
approaching his cell. In 07/02-08/10 he was in the CTC for the following: While
on 1:1 suicide precautions, he placed a sheet around his neck. Intervention we
immediate with no marks of CT scan evidence of injury. Diagnoses have varied
from Adjustment Disorder, to Psychotic Disorder, NOS, to Bipolar, to
Schizoaffective Disorder 295.70. All 3 volumes of the 3 volume paper UHR were.

then reviewed in medical records, but it had no mental health notes of any kind
sinra A7/N7/11,

 

 

 

 

 

DX|see PAGE 2

“gnature: MPIMSMAAI, ARCURI, PS Print Name: ARCURI, PSYMD , MICHAEL Phd /LCSW/ MD / PsyTech/ Other:

/ "MENTAL HEALTH - | Level of Care |Last Name: First Name: MI:
INTERDISCIPLINARY PROGRESS NOTE
; TURNER LAFONZO
MH3 (10/11/02) INPATIENT . | R
Confidentail Client/Patient Information Outpatient CDC#: G05794 ' HOUSE: BO3U221L

_ See W & | Code, Section 5328 P _\__Confidential Saved 2014-04-15T15:35:397,

 
Case 2:14-cv-04758-SB-AGR Document 66 Filed osiorine Page 25 of 32 Page ID #:561 '

 

 

t institution: CS50-t Ae

_LVUL Mental’ ‘Status Examination’ |

Pas . Chaat, PL oe . Date: 0 eles |

 

 

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B. Behavior/Cooperation: Zn Setemt bs
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C. Orientation: (SG WNL

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D.Speech: —(] WNL Dim ghflers ab domes, Son themes de Felee Clurly.. woke near bie speerka wae

E. Affect: fC WNL Rage
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F. Mood:: 7] WNL Rage.
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G. Sleep/Appetite

Ny WNL

 

H. Cognition:

’ Fund of Information fy] WNL

Intellectual Functioning {7 WNL

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Memory [} WNL
|. Thought Processes: Km WNL (] Tangential [] Circumstantial [] Loose
J. Perception:. a tie
Hallucinations {_] None wn tp a Alea, bob Lis aot bet, had tole taterall, he OWA ved
K. Thought Processes: . .
‘ b, \
ideas of Reference [J None CS Porat, vo ves hung s 4 rel elohe over be She “lone .
Obsessions - [J] -None oe ola; tind satetooks ell a ghnfit
Magical Thinking CJ None

 

 

L. Insight
Judgment

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MENTAL HEALTH TREATMENT PLAN
CDCR 7388 (Rev. 06/06)

STATE OF CALIFORNIA

Page 3 of 6

DEPARTMENT OF CORRECTIONS AND REHABILITATION

 

inmate's Name (Last. First, Ml), CDC Number, DOB

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MENTAL’HEALTH TREATMENT PLAN. *->-

 

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AxisV. | GAF= 6 Specify Functional Impairment: 1= Mild 2 = Moderate | 3= Severe
] Work/School } ADL | Medical | Interpersonal | Behavior ft Psychological
X. TREATMENT-TEAM MEMBERS (Please. Print) ' Position/Title ~~ ‘Signature

 

 

 

 

 

 

 

 

 

 

 

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. A. C Aptek, f) Case Mgr / Prim. Clinician “F——— *
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INSTITUTION CSR ae. CLINICIAN Cer i ; L PL R

 

INMATE BED NUMBER

 

 

DATE

Name (Last, First, Ml), CDC Number, DOB

 

MENTAL HEALTH TREATMENT PLAN
CDCR 7388 (Rev. 06/06)

Confidential Client/Patient Information
\ ‘ Page 5 of 6

STATE OF CALIFORNIA

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DEPARTMENT OF CORRECTIONS AND REHABILITATION

 

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meee SE MENTAL-HEALTH TREATMENT PLAN ce
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.|. General Information Current'Level of Care: [] NONE []CCCMS TODAY'S DATE

 

Arrival Date This Treatment Setting: 8 i’ ‘ox Current Housing: (-] RC (cP (_]cTc NEXT UPDATE

 

 

 

Custody Level: I I1/ I (VJ AdSeg / SHU epro:_ *halwss

 

Date Reviewed: Initials: at Date: Jnitiats: [Date: Initials:

 

 

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‘Number | Problem/Target Symptom Medication Goal - Progress / Date

 

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V. CURRENT RISK FACTORS/BEHAVIORAL ALERTS: [J Suicidal “L_T'Selfinjuridus CT Asdau

 

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See Form Dated For Detailed Description

Summary: Ton deasres SI 2s ( H/2

 

 

Vi. RECOMMENDED HOUSING: [_] Single Cell ("] Double Cel - Se No Recommendation

 

 

 

Vil. TRANSFERIDISCHARGE TO: [] Non-MHSDS J CCCMS..C] FOP-[-] MHCB -E].APP GIIGF. C)oTP [7] Parole:

 
   

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INSTITUTION CLINICIAN

 

 

CSPecAaC Cutter, Phd

INMATE BED NUMBER DATE Name (Last, First, Ml), COC Number, DOB

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Page 1 of 6

 

 

 

STATE OF CALIFORNIA . DEPARTMENT OF CORRECTIONS AND REHABILITATION

 
 

 

 

 

 

 

 

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_ ; CALIFORNIA DEPARTMENT: OF CORRECTIONS

(- NAME: TURNER CDC #: G05794 "BED: DI-109L.

COMMITTEE ACTION SUMMARY

 

REE CSR RX KVSP ENDORSEMENT AND RX TX SAC 180 EOP W/ALT PBSP 180 EOP at IM REQ. ACCEPT EOP-LOC PENDING
TX, ESTABLISH WG/PG AI/A, PSYCH UNASSIGN, CLO/A, NO GATE PASS, D/C APPROVED,

 

 

 

COMMITTEE'S COMMENTS

Inmate TURNER appeared before California State Prison, L.A. County’s (LAC’s) Facility D Unit Classification Committee (UCC) ©
today-for his Initial EOP Review. TURNER stated that his health was good and was willing to proceed. TURNER received his 72-hour
notice for the purpose of this review. Prior to committee reviewing and discussing this case, TURNER was introduced to the
committee members. Based upon a review of TURNER'S Central File, case factors, and through discussion with him, committee elects
to: REFER TO CSR RX RESCIND KVSP 180 ENDORSEMENT AND RX TX SAC 180 EOP W/ALT PBSP 180 EOP AT I/M

| REQ. ACCEPT EOP-LOC PENDING TX, WG/PG A1/A, PSYCH UNASSIGN, CLO/A, NO GATE PASS, D/C APPROVED.
. On 1/22/2012 Turner was received on Fac.D from Fac. A for GP housing. The move to Fac. D was due to the inmate not meeting the

criteria for the LAC Fac. A PPF, and the conversion of Fac. D from a Reception Center to General Population. Prior to the move to
Fac. D the inmate was referred for transfer to a 180 design institution. Noting the inmates need for "physical therapy\" (as cited on the
CDC 128-C3 dated 8/6/2010) that committee elected to refer to K VSP. 180 and PBSP 180 over the inmates request for SAC 180. The
CSR endorsed the inmate KVSP IV 180 on 10/19/2011. On 11/30/2011 anew CDC 128 C3 was generated, clearing the need for
physical therapy. It is also noted that the inmates MHSDS LOC was increased to EOP. As such Committee elects to refer to the CSR to
rescind the K VSP 180 endorsement, and refer for transfer to an appropriate 180 design EOP institution. . The inmate requested SAC IV
180 EOP due to family ties, with PBSP 180 EOP named as the alternate. Committee notes that Turner meets the criteria for 180
housing due to reason A-1. This transfer is adverse in nature, and the inmate will retain CLO/A custody and WG/PG A1/Aat the

receiving institution.

Turner meets the criteria for inclusion into the Mental Health fh Delivery System (MHDS) at the Enhanced Outpatient (EOP) Level of
Care (LOC) as per CDC128C dated 1/30/2012. This is a therapeutic placement and as such, Al statusis appropriate based on his

“articipation in the EOP program per CDC Title 15, 3044(E).
“The CDC forms 812, 812-c, 127, and MSF have been reviewed and updated as required. A review of the Case Factors, in conjunction

with the inmate's time to serve, escape history, and disciplinary was conducted and it was determined by this committee to maintain
custody at CLO/A based on CCR criteria 3377.1, noting Turner is serving a total term of 50 years to Life. T.B. code is 22 per the
CDC128-C dated 4/25/2011. There are no DDP/DPP concerns noted. All other case Factors remain the same as those noted_on the
CDC 128-G dated 6/25/2008. Committee notes that the inmate has a pending RVR dated 1/22/2012 for \"Contraband\", That RVR was
heard on 1/27/2012 with a finding of guilt for a Division D Offense. The points have been assessed and the final copies will be placed

in the file prior to transfer.

During the pre-committee interview C/O D. Hunter acted as Staff Asst. The proposed committee actions were explained to Turner
speaking slowly and clearly, using simple English and sentences. Turner stated that he understood the proposed actions and that he
agreed with them. Turner was ‘able to repeat the proposed actions to myself and C/O Hunter using his own words, At U.C.C.
effective communication was established by speaking slowly and clearly, using simple English and sentences, and by allowing the
inmate to ask questions and express his understanding of the committee's actions. It was apparent during the committee that did not
require any other communications aids or devices, ic. sign/foreign language interpreter, hearing aids, etc.. All members of the
committee agreed that effective communication had been established, As Turner is a participant in the MHSDS at the EOP-LOC, C/O

Gant was assigned as Staff Asst.

At the conclusion of this review, ‘TURNER was informed of his Appeal Rights with regards to this committee's actions. TURNER
acknowledged his understanding and agreement with committee’s actions.

STAFF ASSISTANT |
Assigned: (Issues complex and/or Inmate participant in MHSDS) C/O Gant

 

LP

 

 

 
 

 

 

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DATE TIME

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SPECTIVE
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() Pt. Provided appropriate substd 0 DPS QONH O Louder 9 : n

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7. CHECKED TABE, LD AND/OR]

3. METHOD USED TO DETERMIN

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IP 1:1 PC cell side.

 

(S)._ IP continues to report paranoid thinking noted in previous contacts. He focused upon recent

 

notification that he has been endorsed to Pelican Bay where he says he has numerous enemies. When |

 

questioned whether he had given their names to custody he stated that he is unwilling tio do so because

 

of fears there will be retribution from both thr persons named and the custody offcers who he says are

 

attempting to kill him. IP became angry and accused me of participating in the conspiracy to harm him. :

 

He also stated that as a result of these fears his feelings of anxiety and depression as well as S| have

 

increased. When questioned he denied suicide intent or plan. IP continues to report AH noted in

 

previous contacts in the absence of objective signs of psychosis. Not demonstrating or reporting any

 

 

other signs or sxs of significant psychological distress, Mood DO, psychosis, or AXIS | DO. Attempted to

address target problem of paranoid thinking but IP became angry and accused me of participating in the

 

conspiracy to harm him.

 

(QO) Generally cooperative. Mood dysthymic/anxious/angry; Affect congruent. Speech clear; Thinking

 

linear. Denies SI/Hi; Denies VH but endorses AH. ADLS/Sleep/Appetite/Cell condition WNL. Offered to

 

address target problem of paranoid thinking but IP declined.

 

(A)_IP continues to demonstrate sxs of target problem of paranoia/AH.

 

 

(P) Continue to monitor psychological status and provide 1:1 weekly PC and interventions per treatment

plan

 

J

 

(E) Continue to encourage active participation ~

 

 

 

 

 

INSTITUTION
if CSP-LAC

BEO NUMBER CDC NUMBER, NAME (LAST, FIRST, Ml) AND OATE OF BIRTH

BED NUMBER

CLINICIAN
S. Moore, PhD
Psychologist

 

 

 

 

INTERDISCIPLINARY PROGRESS NOTES
CDCR 7230 MH (Rev. 06/06)
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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION

 

CDC #: g05794
NAME: TURNER, LAFONZO
D.O.B.:

 

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PROOF OF SERVICE

(C.C.P. §§1013(a); 2015.5; 28 U.S.C. §1746)

I, LAtNZO PP .“THENEZ , am over the age of eighteen (18) years,
and I (am) (am not) a party to the within cause of action. My address is:

C.-8 -P. Sre_

RP. . RIX AIVOGE

Rap eran. Ea.
ASG]

On, Matth & ,aAY1G, I served the following documents:
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on the below named individual(s) by depositing true and correct copies thereof in
the United State mail in Represa, California, with postage fully prepaid thereon,
addressed as follows:

 

 

 

 

 

 

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I have read the above statements and declare under the penalty of perjury of
the laws of the State of California that the foregoing is true and correct.

Executed this A__ day of MA. ALEh _, 9A LG at California State
Prison - Sacramento, Represa, California.

(Signature) 22. ot gtayee ch
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